                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA

                v.                                 1:17CR460-1

PAULA KAY BULLOCK

                                           ORDER

        This matter is before the Court on Defendant’s motion to amend her conditions of

pretrial release pursuant to 18 U.S.C. § 3145(a)(2). (ECF No. 60). The Defendant requests

that she be allowed to travel, without prior approval, within the continental United States.

        IT IS HEREBY ORDERED that Defendant’s motion to amend her conditions of

release is DENIED and that the condition “travel restricted to the Middle District of North

Carolina unless prior approval given by pretrial services” shall remain as a condition of her

pretrial release.

        This, the 9th day of April 2019.


                                            /s/ Loretta C. Biggs
                                            United States District Judge




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